    Case 17-10176-JDW        Doc 64 Filed 05/01/18 Entered 05/01/18 08:33:24                   Desc BK
                             Hearing Date/Time/Location Page 1 of 1
                                                                                               CM/ECF hrg4
                                                                                              (Rev. 08/02/16)

                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF MISSISSIPPI

In Re: Benjamin B Fisher                            )                 Case No.: 17−10176−JDW
       Debtor(s)                                    )                 Chapter: 13
                                                    )                 Judge: Jason D. Woodard
                                                    )
                                                    )


      PLEASE TAKE NOTICE that an evidentiary hearing will be held at:
             Oxford Federal Building, 911 Jackson Avenue, Oxford, MS 38655
             on 6/20/18 at 01:30 PM
             to consider and act upon the following:
             56 − Motion to Reinstate Case Filed by Robert Gambrell on behalf of Benjamin B
             Fisher. (Attachments: # 1 Proposed Order) (Gambrell, Robert)

Please note that a corporation, partnership, trust, or other business entity, other than a sole
proprietorship, may appear and act in Bankruptcy Court only through a licensed attorney.
Dated: 5/1/18
                                                        Shallanda J. Clay
                                                        Clerk, U.S. Bankruptcy Court
                                                        BY: LJB
                                                            Deputy Clerk
